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wEsTERN vasIoN W.c). or m r‘.i§~._`.i,.;;~,§,§
U.s.A. vs AMY L. MARTlN pocket No. 2:01€1220259-001

Petition on Probation and Supervised Release

COMES NOW MARNIE KLYMAN PROBATION OFFICER OF THE C()URT presenting an
official report upon the conduct and attitude of Amy L. Martin who Was placed on supervision by the Honorable M
Smith Gibbons sitting in the Court at Memphis, TN on the lmh day of April, w Who lixed the period of
supervision at three g31 years*, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

l. The defendant shall participate in the Horne Detention program for a period of 5 months. (Satisfied).
2. The defendant shall provide full financial disclosure as directed by the probation office
3. The defendant shall not acquire any new financial obligations Without the permission of the probation office
5. Third Party risk notiiication.
6. The defendant shall pay restitution in the amount of $l 28,808.0() (balance $126,548.00).
Supervised Release began on November 22, 2002.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(If short insert here; it" lengthy write on separate sheet and attaeh)

Atter reviewing Ms. Martin’s monthly income and monthly necessary expenses, the probation oche has determined
that 10% of her monthly gross income is an appropriate payment plan.

PRAYING THAT THE COURT WILL ORDER that Amy Martin’s restitution payments be set at ten percent
(] 0%) of her monthly gross incorne.

 

ORDER OF C()URT Respectfully,
Considered and ordered this 7 M` day
of Fi"""'" , 20 °_f_ and ordered filed and Marnie Klyrnan
made a part of the records in the above case. U.S. Probation OHicer

Place Memphis. Tennessee

 

United States District Judge
l)ate May 3l. 2005

Th.i§ sentiment entered en the docket heat n compga,n¢e
with nine §§ ana/or sam rach on w @

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:0]-CR-20259 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

